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 YEE & KAWASHIMA LLLP

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 Attorney for Plaintiffs
 HAWAII TEAMSTERS
 HEALTH AND WELFARE TRUST

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


 HAWAII TEAMSTERS HEALTH          )         CIVIL NO. _______________
 AND WELFARE TRUST,               )
                                  )         COMPLAINT; SUMMONS
            Plaintiffs,           )
                                  )
      vs.                         )
                                  )
                                  )
 YRC, INC. DBA YELLOW             )
 TRANSPORTATION DBA YRC           )
 FREIGHT; JOHN DOES 1-10; JANE    )
 DOES 1-10; DOE CORPORATIONS 1- )
 10; DOE PARTNERSHIPS 1-10; DOE )
 GOVERNMENTAL AGENCIES 1-10, )
 DOE TRUSTS 1-10,                 )
                                  )
                                  )
            Defendants.           )
 ________________________________ )

                                 COMPLAINT

             COME NOW Plaintiffs above named by and through its counsel, Yee
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 & Kawashima LLLP, and for Complaint against Defendant above named allege

 and aver as follows:

             1.     Plaintiffs are the Trustees of the Hawaii Teamsters Health and

 Welfare Trust (hereinafter referred to as "Trust Fund").

             2.     This action arises under the Labor-Management Relations Act,

 1947, as amended, the Employee Retirement Income Security Act of 1974, and the

 Multiemployer Pension Plan Amendments Act of 1980, as hereinafter more fully

 appears. Jurisdiction is founded on questions arising thereunder and more

 specifically under 29 U.S.C. §§ 1145 and 1132(a) and (f).

             3.     At all times relevant herein, the above-named Trust Fund was,

 and now is, an employee benefit plan organized and existing under the laws of the

 United States and whose principal offices are in the City and County of Honolulu,

 State of Hawaii. At all times herein mentioned, the above-named Trust Fund was,

 and now is, an express trust created by a written trust Agreement subject to and

 pursuant to the Labor-Management Relations Act and a multiple employer benefit

 plan within the meaning of Sections 3 and 4 of the Employee Retirement Income

 Security Act (29 U.S.C. §§ 1002 and 1003).

             4.     At all times relevant herein, Defendant YRC, INC. DBA

 YELLOW TRANSPORTATION ("YRC") was a Hawaii corporation doing

 business in the City and County of Honolulu, State of Hawaii.



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              5.     YRC FREIGHT is the registered trade name of Defendant

 YRC, INC. DBA YELLOW TRANSPORTATION in the State of Hawaii.

              6.     Defendants John Does 1-10, Jane Does 1-10, Doe Partnerships

 1-10, Doe Corporations 1-10, Doe Governmental Agencies 1-10, and Doe Trusts

 1-10 are sued herein under fictitious names for the reason that their true names and

 identities are presently unknown to Trust Fund except that they are connected in

 some manner with the named Defendant and/or were the agents, servants,

 employees, employers, representative, co-venturers, associates of the named

 Defendant and/or were in some matter presently unknown to the Trust Fund

 engaged in the activities alleged herein and/or were in some manner responsible

 for the injuries or damages to the Trust Fund. Trust Fund has made a diligent

 effort to ascertain the true names, identities, capacities, activities and/or

 responsibilities of said unidentified Defendants but have been unable to do so to

 date. Trust Fund prays for leave to insert herein unidentified Defendants' true

 names, identities, capacities, activities and/or responsibilities when the same are

 ascertained. Trust Fund has made a diligent and good-faith effort to ascertain the

 full name, identity, and interest in this action of Defendants John Does 1-10, Jane

 Does 1-10, Doe Partnerships 1-10, Doe Corporations 1-10, Doe Governmental

 Agencies 1-10, and Doe Trusts 1-10 including, but not limited to, investigative

 efforts to locate witnesses and other persons who may have knowledge of, or



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 contributed to causing the injuries or damages to the Trust Fund, and to identify

 their roles with respect to same.

               7.     Defendant YRC agreed to abide by all terms and conditions of

 the "Agreement by and between YRC Freight, Inc. and Hawaii Teamsters and

 Allied Workers, Teamsters Local 996", effective April 1, 2012 to March 31, 2019

 (the "Agreement").

               8.     Trust Fund is a third party beneficiary of the Agreement.

               9.     Trust Fund is administered pursuant to written trust agreement,

 which is incorporated to the Agreement by its reference.

                     COUNT I (YRC – Contributions and Damages)

               10.    By agreeing to abide by such Agreement and as established by

 past practice between the parties, YRC promised to pay to the Trust Fund certain

 amounts for employee benefits, for work and labor performed by YRC’s covered

 employees.

               11.    The Trust Fund’s written trust agreement, collection procedures

 and past practice of the parties requires YRC to submit timely reports to the Trust

 Fund regarding hours worked by YRC’s covered employees, which reports would

 be submitted to the Trust Fund on or before the due dates as specified in said

 procedures.




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              12.    The written trust agreement, collection procedures and past

 practice of the parties required that in the event any monthly contributions were

 not paid when due, YRC would pay to the Trust Fund liquidated damages in the

 amount of ten percent (10%) of such delinquent and unpaid contributions due to

 each respective fund or twenty five dollars ($25.00), whichever is greater, for each

 and every delinquent monthly contribution payment as provided by said

 Agreement, as amended, for each delinquency as and for liquidated damages and

 not as a penalty.

              13.    YRC has failed to pay Trust Fund contributions and or other

 amounts owing to Trust Fund under the Agreement for the period of August 2016

 through March 2017.

              14.    YRC’s obligations to Trust Fund to make contributions are

 continuing obligations and YRC may accrue and owe additional amounts plus

 liquidated damages and/or interest up to the time of trial or proof.

              15.    At all times herein mentioned it was, and now is, impracticable

 and extremely difficult to fix the amount of actual damages to Trust Fund as a

 result of the non-payment of said contributions. The amounts agreed upon herein,

 as hereinbefore alleged, as and for liquidated damages, represented and now

 represent a reasonable endeavor to ascertain and compensate for the damages

 caused the Trust Fund by the non-payment of said contributions.



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             16.    Pursuant to the written trust agreement and collection

 procedures, Trust Fund is entitled to an award of attorneys’ fees and costs because

 it became necessary for the Trust Fund to take legal action to enforce payment of

 contributions and/or liquidated damages from YRC.

             17.    Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145,

 as amended by the Multiemployer Pension Plan Amendments Act ("MPPAA")

 govern the enforcement of employer contributions to employee pension and

 welfare trust funds. ERISA Section 515 (29 U.S.C. § 1145) provides:

             Every employer who is obligated to make contributions
             to a multiemployer plan under the terms of the plan or
             under the terms of a collectively bargained agreement
             shall, to the extent not inconsistent with law, make such
             contributions in accordance with the terms and
             conditions of such plan or such agreement.

             18.    Section 515 is reinforced by the remedial provisions of ERISA

 section 502(g):

             (2) In any action under this subchapter by a fiduciary for
             or on behalf of a plan to enforce section 1145 of this title
             in which a judgment in favor of the plan is awarded, the
             court shall award the plan —
                (A) the unpaid contributions,
                (B) interest on the unpaid contributions,
                (C) an amount equal to the greater of

                     (i)    interest on the unpaid contributions, or

                     (ii)   liquidated damages provided for under the
                             plan in an amount not in excess of 20
                             percent (or such higher percentage as may


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                             be permitted under Federal or State law) of
                             the amount determined by the court under
                             subparagraph (A),

                   (D) reasonable attorney's fees and costs of the action,
                   to be paid by the defendant, and

                   (E) such other legal or equitable relief as the court
                   deems appropriate.

                   For purposes of this paragraph, interest on unpaid
                   contributions shall be determined by using the rate
                   provided under the plan, or, if none, the rate
                   prescribed under section 6621 of Title 26.

             19.      YRC’s failure to transmit payments for contributions and

 liquidated damages in a timely fashion to Trust Funds for hours worked by its

 employees caused damage to Trust Funds in an amount to be proven at trial.

             WHEREFORE, Trust Fund prays as follows:

              1.      For judgment against YRC for outstanding Trust Fund

 contributions and liquidated damages in an amount to be proven at trial, together

 with additional damages as may be shown at trial, accrued interest through the

 date of judgment, attorneys fees and costs, and such relief as the Court deems just

 and equitable.

              2.      Such other relief as the Court deems just and equitable.




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            DATED: Honolulu, Hawaii, September 5, 2017.




                                                /s/ Christin D. W. Kawada
                                          JARED N. KAWASHIMA
                                          CHRISTIN D. W. KAWADA
                                          Attorney for Plaintiffs




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